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           EXHIBIT E
                                                                                                 Stavatti
                                            Case 2:23-cv-00226-DJH Document 1-6 Filed 02/03/23 Page   2 isofan2innovative aircraft
                                                                                                                                                                                                    manufacturing company seeking to raise
                                                                                                                                                                                                    $35MM to acquire and upgrade 4 MiG-
June 2022                                                                                                                                                                                           29s and purchase the former Bell
$35MM Capital Raise                                                                                                                                                                                 Aerospace plant

                                          Company Overview                                                                                                                              MiG-29 Upgrade Program

 •     Stavatti is a state-of-the-art aircraft manufacturer focused on                                                                           •       The MiG-29 is the world’s 5th most popular fighter jet and is in
       the design and production of new/existing military, commercial                                                                                    use with over 20 NATO and other U.S.-allied countries today
       and general aviation aircraft                                                                                                             •       Currently, MiG-29s face part shortages due to NATO members
                                                                                                                                                         and other U.S.-allied countries being unable to source parts
 •     Founded in 1994, Stavatti is currently headquartered at Stavatti                                                                                  from Russia
       Niagara Aeronautical Prototype Production Engineering &
       Research (SNAPPER) in Niagara Falls, NY                                                                                                   •       Additionally, technology obsolescence issues have made the
                                                                                                                                                         MiG-29 unable to compete with alternative fighter jets
 •     Stavatti expects to begin upgrading 10 MiG-29s to Stavatti-                                                                               •       To address these issues, Stavatti designed the SM-29 Super
       designed SM-29 Super Fulcrum aircraft in 2023, scaling to 50                                                                                      Fulcrum, an upgrade program for existing MiG-29s, improving
       aircraft upgrades by 2026                                                                                                                         their operational capabilities and effectiveness
 •     Starting in 2026, Stavatti expects to begin sales of its new SM-28                                                                        •       More than 700 MiG-29s remain in allied services globally, and
       and SM-31 Stavatti-designed fighter jets                                                                                                          Stavatti expects to upgrade more than 500 over the next decade


                                              Use of Proceeds                                                                                                                    Future Opportunities and Growth


                                                                                                                                                 •       Stavatti is currently developing its SM-28 Machete, a next-
                                                                                                                                                         generation, heavily armored single-engine attack aircraft
                                                                                                                                                 •       The SM-28 is desperately needed to replace the aging A-10
                                                                                                                                                         fighter jet and other subsonic close air support aircrafts – the
                                                                                                                                                         SM-28 is projected to replace 1,500 of these aircraft currently in
•     $11MM: Acquisition of 4 MiG-29 aircraft from Air USA,                                                                                              use
      including 2 MiG-29UBs
                                                                                                                                                 •       Stavatti is also currently developing its SM-31 Stiletto, an
•     $10MM: Upgrade of MiG-29s purchased to serve as demo                                                                                               advanced 5th generation supersonic trainer and light jet fighter
      aircraft; expected to result in future contracts
•     $14MM: Acquisition of Bell Aerospace Plant to expand
      manufacturing capability

                                     Key Investment Highlights                                                                                                                             Financial Summary
                                                                                                                                                                                          Projected Revenue by Aircraft
•     Experienced Team with Design Expertise                                                                                                                               $4
                                                                                                                                                                                              SM-29           SM-28              SM-31              $3.0
•     Exceptional Pentagon and Corporate Aerospace Relationships                                                                                                           3
                                                                                                                                                           Revenue ($Bn)




                                                                                                                                                                                                                                $2.3
•     Knowledge of Government Contract Process                                                                                                                             2
                                                                                                                                                                                                             $1.2
•     Mission-Critical Upgrade in Current Environment                                                                                                                                        $0.9
                                                                                                                                                                           1
•     Future Projects and Growth                                                                                                                                                 $0.2
                                                                                                                                                                           0
•     Lean Development Cycle                                                                                                                                                     2023        2024            2025               2026               2027
•     Advanced Engineering and Design Capabilities                                                                                                       Expected Units Sold
                                                                                                                                                                    SM-29         10           40              50                 50                 50
                                                                                                                                                                    SM-28          -            -               -                 25                 50
                                                                                                                                                                    SM-31          -            -               -                 36                 48



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